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                         Exhibit 4
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 TROOPER 1,

                        Plaintiff,                        Case No. 1:22-cv-00893 (LDH) (TAM)

                v.

 NEW YORK STATE POLICE, et al.,

                        Defendants.


             NON-PARTY LINDSEY BOYLAN’S RESPONSES AND OBJECTIONS
                  TO DEFENDANT ANDREW M. CUOMO’S SUBPOENA

        Pursuant to Rule 45 of the Federal Rules of Civil Procedure (the “Federal Rules”), non-

 party Lindsey Boylan hereby responds and objects to Defendant Andrew M. Cuomo’s Subpoena

 to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil

 Action, dated March 30, 2023 (the “Subpoena”), in the above-captioned action (the “Action”) as

 set forth below.

                         GENERAL RESPONSES AND OBJECTIONS

        Ms. Boylan’s general responses and objections (“General Objections”), which are

 incorporated into the specific responses and objections (“Specific Objections”) below and apply

 to the Subpoena generally and to each Definition, Instruction, and Document Request (the

 “Requests,” and each, individually, a “Request”) in the Subpoena, are as follows:

        1.      Ms. Boylan objects to the Subpoena as improper and lacking any legitimate purpose

 because it seeks information that is not relevant to claims or defenses in this Action, and is intended

 solely to annoy, embarrass, oppress, harass, intimidate, and retaliate against Ms. Boylan.




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        2.      Ms. Boylan objects to the Subpoena to the extent that it seeks information that is

 not in Ms. Boylan’s possession, custody, or control and because it seeks information that is

 publicly available, already in the possession, custody, or control of Mr. Cuomo or another party to

 this Action, or is equally available to Mr. Cuomo from or through another source.

        3.      Ms. Boylan objects to the Subpoena as premature, unduly burdensome, and not

 proportional to the needs of the case because it seeks documents while Mr. Cuomo’s motion to

 dismiss the Fourth and Sixth causes of action of the Amended Complaint is pending.

        4.      Ms. Boylan objects to the Subpoena as premature, unduly burdensome, and not

 proportional to the needs of the case because Mr. Cuomo has not finished obtaining discovery

 from the parties to this Action and because it seeks documents while Mr. Cuomo’s motions to

 compel subpoena compliance from the New York State Office of the Attorney General (“OAG”)

 and New York State Assembly Judiciary Committee (“AJC”) are pending and while OAG’s and

 AJC’s cross motions to quash are pending.

        5.      Ms. Boylan objects to the Subpoena as premature, unduly burdensome, and not

 proportional to the needs of the case to the extent the parties have yet to resolve disputes regarding

 whether any discovery from Ms. Boylan is relevant or will be admissible in this Action. Ms.

 Boylan has never met, spoken to, or worked with Plaintiff, and Plaintiff has not alleged that

 conduct toward or allegations by Ms. Boylan affected the terms and conditions of Plaintiff’s

 employment.

        6.      Ms. Boylan objects to the Requests to the extent that they purport to require

 production of “all” documents and/or communications concerning the enumerated categories on

 the grounds that such Requests are overly broad, unduly burdensome, and not proportional to the

 needs of the case.


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        7.      Ms. Boylan objects to the Subpoena, including the Definitions, Instructions, and

 Requests therein, to the extent that it purports to impose obligations that are greater or more

 burdensome than, and/or are contrary to, the obligations imposed by the Federal Rules, the Local

 Rules of the United States District Courts fort the Southern and Eastern Districts of New York (the

 “Local Rules”), or any other applicable law, rule, or order.

        8.      Ms. Boylan objects to the Subpoena, including the Definitions, Instructions, and

 Requests therein, to the extent that it is overly broad, duplicative, lacking in particularity,

 unreasonable, unduly burdensome and expensive, and irrelevant, and fails to comply with Federal

 Rule 45(d)(1) by not taking reasonable steps to avoid imposing undue burden or expense on Ms.

 Boylan.

        9.      Ms. Boylan objects to the Subpoena to the extent it seeks documents and

 information that are protected from disclosure under the attorney-client privilege, the work product

 doctrine, therapist-patient privilege, or any other applicable privilege, immunity, or protection

 from disclosure (“Privileged Information”). Nothing contained in these Responses and Objections

 is intended to be, nor shall in any way be, construed as a waiver of any such privilege, immunity,

 or protection. Specific Objections on the grounds of privilege are provided for emphasis and clarity

 only, and the absence of a Specific Objection is not intended, nor should it be interpreted, as

 evidence that Ms. Boylan does not object to a Request on the basis of an applicable privilege,

 immunity or protection. Any disclosure of any such privileged or protected material by Ms. Boylan

 is inadvertent and is not intended to waive any applicable privilege or protection. Ms. Boylan

 reserves the right to recover any such inadvertently produced materials and all copies thereof.




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        10.     Ms. Boylan objects to the Subpoena to the extent it seeks information that is private,

 confidential, proprietary, personal, financial, sensitive, or subject to protective orders,

 nondisclosure agreements, or other confidentiality undertakings (“Confidential Information”).

        11.     Ms. Boylan objects to the Requests, and each and every Definition and Instruction

 therein, to the extent that they are argumentative, lack foundation, or contain express or implied

 assumptions of facts and/or circumstances that do not exist or the occurrence of events that did not

 take place. Ms. Boylan’s Responses and Objections are not intended, and shall not be construed,

 as an admission that any factual predicates stated in the Requests are accurate, or as an agreement

 or concurrence by Ms. Boylan with Mr. Cuomo’s characterization of any facts, circumstances, or

 legal obligations. Ms. Boylan reserves the right to contest any such characterization as inaccurate.

        12.     Ms. Boylan objects to Definitions Nos. 4, 5, and 6 because they are overly broad,

 unduly burdensome, and inconsistent with the provisions of Local Rule 26.3, and purport to impose

 obligations that are greater or more burdensome than, or inconsistent with, the provisions of Local

 Rule 26.3.

        13.     Ms. Boylan objects to Definition No. 12 as overly broad, unduly burdensome, and

 inconsistent with the provisions of the Federal Rules and the Local Rules, to the extent it purports

 to impose an obligation on Ms. Boylan to obtain information not within her possession, custody,

 or control, including from yet additional third parties.

        14.     Ms. Boylan objects to Instruction No. 2 as overly broad, unduly burdensome, and

 not proportional to the needs of the case, and to the extent that it calls for information that is not

 within Ms. Boylan’s possession, custody, or control. Ms. Boylan further objects to Instruction No.

 2 to the extent that it purports to impose obligations that are greater or more burdensome than, or

 inconsistent with, the provisions of the Federal Rules or the Local Rules.


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        15.     Ms. Boylan objects to Instruction No. 5 as overly broad and unduly burdensome.

 Ms. Boylan further objects to Instruction No. 5 to the extent that it requires Ms. Boylan to prepare

 and provide a privilege log and/or other logs in a manner inconsistent with the Federal Rules or

 any other applicable rules, laws, or court orders. Ms. Boylan will provide a privilege log if, as, and

 when appropriate in accordance with any agreement of the parties and/or order from the Court

 related to the timing, format, and scope of privilege logs.

        16.     Ms. Boylan objects to Instruction No. 7 to the extent that it purports to impose

 obligations on Ms. Boylan to supplement her responses that are greater or more burdensome than

 required by the Federal Rules or any other applicable rules, laws, or court orders.

        17.     By serving these Responses and Objections, Ms. Boylan does not waive, and hereby

 expressly reserves, her right to seek a protective order or to file a motion to quash pursuant to

 Federal Rules 26(c) and 45(d) as to the Subpoena.

        18.     Ms. Boylan’s Responses and Objections reflect only the current state of Ms.

 Boylan’s knowledge or information regarding the documents or information Mr. Cuomo has

 requested. Without in any way obligating herself to do so, Ms. Boylan expressly reserves the right

 at any time to revise, supplement, amend, correct, or clarify these Responses and Objections,

 including the General and Specific Objections and any other objections propounded herein.

        19.     Any response by Ms. Boylan that she will or will not search for or produce

 documents responsive to any of the Requests should not be construed as meaning that relevant

 documents responsive to any of the Requests exist.

                          SPECIFIC RESPONSES AND OBJECTIONS

        Ms. Boylan’s specific responses and objections to the Requests, which do not limit or

 restrict the General Objections above, are as follows:


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       Request No. 1: All documents concerning (a) any of Your personal interactions with
 Governor Cuomo, and/or (b) any allegations of sexual harassment or other misconduct You have
 made against Governor Cuomo.

        Response to Request No. 1: Ms. Boylan objects to Request No. 1 because it seeks

 documents that are irrelevant to the claims and defenses presented in this Action and is intended

 to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

 it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

 documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

 objects to this Request because it is overbroad and unduly burdensome, including because it seeks

 “all documents” without specifying a date range. Ms. Boylan objects to this Request because it is

 vague and ambiguous, including because the terms “personal interactions” and “other misconduct”

 are vague and ambiguous. Ms. Boylan objects to this Request to the extent that it calls for the

 production of Privileged Information, Confidential Information, or information otherwise

 protected from disclosure under New York and/or federal law. As such, Ms. Boylan will not

 produce documents in response to this Request.

         Request No. 2: All documents concerning the OAG Investigation, including but not
 limited to any communications between You and the OAG and any statements or documents You
 provided to the OAG.

        Response to Request No. 2: Ms. Boylan objects to Request No. 2 because it seeks

 documents that are irrelevant to the claims and defenses presented in this Action and is intended

 to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

 it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

 documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

 objects to this Request because it is overbroad and unduly burdensome, including because it seeks

 “all documents” and “any communications” without specifying a date range. Ms. Boylan objects


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 to this request to the extent it is duplicative of Request No. 1. Ms. Boylan objects to this Request

 to the extent that it calls for the production of Privileged Information, Confidential Information, or

 information otherwise protected from disclosure under New York and/or federal law. As such, Ms.

 Boylan will not produce documents in response to this Request.

         Request No. 3: All documents concerning the AJC Investigation, including but not limited
 to any communications between You and the AJC and any statements or documents You provided
 to the AJC.

        Response to Request No. 3: Ms. Boylan objects to Request No. 3 because it seeks

 documents that are irrelevant to the claims and defenses presented in this Action and is intended

 to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

 it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

 documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

 objects to this Request because it is overbroad and unduly burdensome, including because it seeks

 “all documents” and “any communications” without specifying a date range. Ms. Boylan objects

 to this request to the extent it is duplicative of Request No. 1. Ms. Boylan objects to this Request

 to the extent that it calls for the production of Privileged Information, Confidential Information, or

 information otherwise protected from disclosure under New York and/or federal law. As such, Ms.

 Boylan will not produce documents in response to this Request.

        Request No. 4: All documents reflecting any communications between You and any Media
 Outlet or journalist, including but not limited to news outlets, newspapers, or social media
 platforms, concerning allegations of sexual harassment or other misconduct against Governor
 Cuomo.

        Response to Request No. 4: Ms. Boylan objects to Request No. 4 because it seeks

 documents that are irrelevant to the claims and defenses presented in this Action and is intended

 to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

 it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

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 documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

 objects to this Request because it is overbroad and unduly burdensome, including because it seeks

 “all documents” and “any communications” without specifying a date range. Ms. Boylan objects

 to this Request because it is vague and ambiguous, including because the terms “reflecting” and

 “other misconduct” are vague and ambiguous. Ms. Boylan objects to this Request to the extent it

 is duplicative of Request No. 1. Ms. Boylan objects to this Request to the extent that it calls for

 the production of Privileged Information, Confidential Information, or information otherwise

 protected from disclosure under New York and/or federal law. As such, Ms. Boylan will not

 produce documents in response to this Request.

         Request No. 5: All documents reflecting communications with the Executive Chamber or
 any of its current or former employees, including Charlotte Bennett, Alessandra Biaggi, Brittany
 Commisso, Alyssa McGrath, Ana Liss and Kaitlin Moody, concerning Governor Cuomo,
 including allegations of sexual harassment or other misconduct against Governor Cuomo and any
 investigation of Governor Cuomo.

        Response to Request No. 5: Ms. Boylan objects to Request No. 5 because it seeks

 documents that are irrelevant to the claims and defenses presented in this Action and is intended

 to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

 it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

 documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

 objects to this Request because it is overbroad and unduly burdensome, including because it seeks

 “all documents” without specifying a date range. Ms. Boylan objects to this Request because it is

 vague and ambiguous, including because the terms “reflecting” and “other misconduct” are vague

 and ambiguous. Ms. Boylan objects to this Request to the extent it is duplicative of Request No.

 1. Ms. Boylan objects to this Request to the extent that it calls for the production of Privileged

 Information, Confidential Information, or information otherwise protected from disclosure under


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  New York and/or federal law. As such, Ms. Boylan will not produce documents in response to this

  Request.

          Request No. 6: All documents related to your February 2021 essay published on Medium
  entitled “My story of working with Governor Cuomo,” including all non-privileged drafts and
  communications concerning that essay.

         Response to Request No. 6:      Ms. Boylan objects to Request No. 6 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all documents” without specifying a date range. Ms. Boylan objects to this Request because it is

  vague and ambiguous, including because the term “related to” is vague and ambiguous. Ms.

  Boylan objects to this Request to the extent it is duplicative of Request No. 1. Ms. Boylan objects

  to this Request to the extent that it calls for the production of Privileged Information, Confidential

  Information, or information otherwise protected from disclosure under New York and/or federal

  law. As such, Ms. Boylan will not produce documents in response to this Request.

         Request No. 7: All communications with Karen Hinton concerning Governor Cuomo.

         Response to Request No. 7:      Ms. Boylan objects to Request No. 7 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

  objects to this Request because it is overbroad and unduly burdensome, including because it seeks


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  “all communications” without specifying a date range. Ms. Boylan objects to this Request to the

  extent it is duplicative of Request No. 1. As such, Ms. Boylan will not produce documents in

  response to this Request.

          Request No. 8: For the period January 1, 2017 through the present, all communications
  with Howard Zemsky concerning: Governor Cuomo; Your personal relationship and/or sexual
  relationship with Howard Zemsky; and/or a meeting with Alphonso David in January 2018
  concerning your relationship with Howard Zemsky.

         Response to Request No. 8: Ms. Boylan objects to Request No. 8 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all communications” concerning the identified topics. Ms. Boylan objects to this Request to the

  extent it is duplicative of Request No. 1. Ms. Boylan objects to this Request to the extent that it

  calls for the production of Confidential Information or information otherwise protected from

  disclosure under New York and/or federal law. As such, Ms. Boylan will not produce documents

  in response to this Request.

         Request No. 9: For the time period March 1, 2020 through the present, all documents
  concerning fundraising or other communications by Your campaigns relating to your allegations
  of sexual harassment or other misconduct against Governor Cuomo.

         Response to Request No. 9: Ms. Boylan objects to Request No. 9 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

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  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all documents” concerning the identified topics. Ms. Boylan objects to this Request because it is

  vague and ambiguous, including because the terms “relating to” and “other misconduct” are vague

  and ambiguous. Ms. Boylan objects to this Request to the extent it is duplicative of Request No.

  1. Ms. Boylan objects to this Request to the extent that it calls for the production of Privileged

  Information, Confidential Information, or information otherwise protected from disclosure under

  New York and/or federal law. As such, Ms. Boylan will not produce documents in response to this

  Request.

        Request No. 10: For the time period March 13, 2020 through June 23, 2020, all
  communications concerning Governor Cuomo’s March 14, 2020 executive order temporarily
  modifying election procedures during the COVID-19 public health crisis.

         Response to Request No. 10: Ms. Boylan objects to Request No. 10 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all communications” concerning the identified topics. Ms. Boylan objects to this Request to the

  extent that it calls for the production of Privileged Information, Confidential Information, or

  information otherwise protected from disclosure under New York and/or federal law. As such, Ms.

  Boylan will not produce documents in response to this Request.

         Request No. 11: All communications with Governor Cuomo.

         Response to Request No. 11: Ms. Boylan objects to Request No. 11 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended


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  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are already in Defendant Cuomo’s custody, possession, or control. Ms. Boylan

  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all communications” without specifying a date range. Ms. Boylan objects to this Request to the

  extent it is duplicative of Request No. 1. Ms. Boylan objects to this Request to the extent that it

  calls for the production of Confidential Information or information otherwise protected from

  disclosure under New York and/or federal law. As such, Ms. Boylan will not produce documents

  in response to this Request.

          Request No. 12: All documents and communications concerning your September 2018
  resignation from New York State employment, including those relating to meetings with Alphonso
  David, those regarding any effort or attempt by you to resign prior to that resignation, or those
  relating to documents you signed or were asked to sign in connection your resignation.

         Response to Request No. 12: Ms. Boylan objects to Request No. 12 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all documents and communications” without specifying a date range. Ms. Boylan objects to this

  Request because it is vague and ambiguous, including because the terms “relating to,” “regarding,”

  and “in connection your resignation [sic]” are vague and ambiguous. Ms. Boylan objects to this

  Request to the extent that it calls for the production of Privileged Information, Confidential

  Information, or information otherwise protected from disclosure under New York and/or federal

  law. As such, Ms. Boylan will not produce documents in response to this Request.

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         Request No. 13: All communications concerning workplace complaints about you during
  your employment by New York State and/or the Empire State Development Corporation.

         Response to Request No. 13: Ms. Boylan objects to Request No. 13 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all communications” without specifying a date range. Ms. Boylan objects to this Request because

  it is vague and ambiguous, including because the term “workplace complaints” is vague and

  ambiguous. Ms. Boylan objects to this Request to the extent that it calls for the production of

  Privileged Information, Confidential Information, or information otherwise protected from

  disclosure under New York and/or federal law. As such, Ms. Boylan will not produce documents

  in response to this Request.

        Request No. 14: All communications concerning any effort or attempt by you to retain
  employment with the State of New York and/or Empire State Development Corporation following
  your September 2018 resignation, including communications with Stephanie Benton and/or
  Alphonso David.

         Response to Request No. 14: Ms. Boylan objects to Request No. 14 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all communications” without specifying a date range. Ms. Boylan objects to this Request because


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  it is vague and ambiguous, including because the term “retain employment” is vague and

  ambiguous. Ms. Boylan objects to this Request to the extent that it calls for the production of

  Privileged Information, Confidential Information, or information otherwise protected from

  disclosure under New York and/or federal law. As such, Ms. Boylan will not produce documents

  in response to this Request.

        Request No. 15: All documents and communications concerning the decision by Lupe
  Todd Medina to stop working for your campaign for Manhattan Borough President.

         Response to Request No. 15: Ms. Boylan objects to Request No. 15 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all documents and communications” without specifying a date range. Ms. Boylan objects to this

  Request to the extent that it calls for the production of Privileged Information, Confidential

  Information, or information otherwise protected from disclosure under New York and/or federal

  law. As such, Ms. Boylan will not produce documents in response to this Request.

         Request No. 16: All videos, images, or photographs of Governor Cuomo or of You with
  Governor Cuomo and any documents or communications concerning such videos, images, or
  photographs, including on social media.

         Response to Request No. 16: Ms. Boylan objects to Request No. 16 because it seeks

  documents that are irrelevant to the claims and defenses presented in this Action and is intended

  to harass, intimidate, and retaliate against Ms. Boylan. Ms. Boylan objects to this Request because

  it seeks documents not in Ms. Boylan’s possession, custody, or control and to the extent the

  documents sought are more readily available to Mr. Cuomo through another custodian. Ms. Boylan

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  objects to this Request because it is overbroad and unduly burdensome, including because it seeks

  “all videos, images, or photographs” and “any documents and communications” without

  specifying a date range. Ms. Boylan objects to this Request to the extent it is duplicative of Request

  No. 1. Ms. Boylan objects to this Request to the extent that it calls for the production of Privileged

  Information, Confidential Information, or information otherwise protected from disclosure under

  New York and/or federal law. As such, Ms. Boylan will not produce documents in response to this

  Request.


  Dated: April 25, 2023                             Respectfully submitted,
         New York, New York


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                                                    Attorneys for Non-Party Lindsey Boylan




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